




NO. 07-08-0487-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 17, 2009

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IN THE INTEREST OF B.W.B., A CHILD

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FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B35481-0706; HONORABLE ED SELF, JUDGE

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Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

This is an accelerated appeal from an order terminating the parental rights of both appellants to their child, B.W.B. &nbsp;Pending before us is a motion to withdraw filed by counsel for B.W.B.’s mother. &nbsp;As grounds for the motion, counsel cites a conflict that has developed that “interferes with continued representation in this matter.”

By statute, an indigent parent defending a suit brought by the State and seeking termination of the parent/child relationship is entitled to appointed counsel. &nbsp;Tex. Fam. Code Ann. § 107.013(a) (Vernon 2009). &nbsp;This court and others have construed the statute to include an entitlement to appointed counsel on appeal. &nbsp;
In re T.V.,
 8 S.W.3d 448, 449 (Tex.App.–Waco 1999, no pet.); 
In re A.N.,
 No. 07-03-0124-CV, 2003 WL 1987967 (Tex.App.–Amarillo April 30, 2003, pet. denied) (mem. op.). &nbsp;

We abate the appeal and remand the cause for the trial court’s disposition of counsel’s motion to withdraw, and the appointment of new counsel if necessary. &nbsp;On remand, the trial court is directed to take such actions as it finds necessary to determine:

1.	whether appellant desires to prosecute the appeal; and

2.	whether counsel’s motion to withdraw should be granted.

The trial court’s ruling on counsel’s motion to withdraw shall be contained in a written order, by which the court also shall appoint new counsel if the court grants the motion to withdraw and finds that appellant desires to pursue the appeal. If new counsel is appointed, the court’s order shall contain counsel’s name, address, telephone number, and state bar number. &nbsp;The court’s order shall be included in a supplemental clerk’s record to be filed with the Clerk of this Court.

The trial court is directed to hold any hearings it deems necessary to comply with this order. &nbsp;Any such hearings shall be recorded and a supplemental reporter’s record containing these hearings shall be filed with the Clerk of this Court.

The supplemental clerk’s record, and the supplemental reporter’s record, if any, shall be filed on or before October 9, 2009.

It is so ordered.

Per Curiam


